 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
 4   Telephone: (559) 487-5561
 5   Attorney for Defendant
     BRISA CELESTE CASTILLO
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )               No. 1:13-cr-00219 LJO-SKO
                                             )
12                           Plaintiff,      )               STIPULATION TO MODIFY CONDITIONS
                                             )               OF RELEASE AND ORDER THEREON
13         v.                                )
                                             )
14   BRISA CELESTE CASTILLO,                 )
                                             )
15                           Defendant.      )
                                             )
16   _______________________________________ )
17
            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
18
     counsel, MEGAN RICHARDS, Special Assistant United States Attorney, attorney for the plaintiff, and
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     ERIC V. KERSTEN, Assistant Federal Defender, attorney for defendant Brisa Celeste Castillo, that the
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     conditions of release in the above-captioned case may be amended to reflect that Ms. Castillo’s conditions
21
     of release may be modified to include the following conditions:
22
                    Defendant shall participate in an inpatient drug treatment program as
23                  directed by Pretrial Services in the Central District of California and comply
                    with all the rules and regulations of the program. Defendant shall remain in
24                  the inpatient program until released by the pretrial services officer. A
                    responsible party, approved by Pretrial Services, shall escort the defendant
25                  to all required court hearings and escort the defendant back to the program
                    upon completion of the hearing.
26
                    Defendant shall refrain from ANY use of alcohol or any use of a narcotic
27                  drug or other controlled substance without a prescription by a licensed
                    medical practitioner, and defendant shall notify Pretrial Services
28                  immediately of any prescribed medications; medical marijuana, prescribed
 1                     or not, may not be used.

 2
              Pretrial Services has requested these modifications and approves of these modifications. All other
 3
     terms and conditions of Ms. Castillo’s pretrial release, not in conflict, shall remain in full force and effect.
 4
 5            DATED: September 10, 2013                         Respectfully submitted,

 6
                                                                BENJAMIN B. WAGNER
 7                                                              United States Attorney

 8
                                                                /s/ Megan Richards
 9                                                              MEGAN RICHARDS
                                                                Special Assistant U.S. Attorney
10                                                              Attorney for Plaintiff

11
12
              DATED: September 10, 2013                         HEATHER E. WILLIAMS
13                                                              Federal Defender

14
                                                                /s/ Eric V. Kersten
15                                                              ERIC V. KERSTEN
                                                                Assistant Federal Defender
16                                                              Attorney for Defendant
                                                                Brisa Celeste Castillo
17
18
19
                                                              ORDER
20
              IT IS SO ORDERED.
21
     Dated:       September 12, 2013                           /s/ Sheila K. Oberto
22   ie14hj                                            UNITED STATES MAGISTRATE JUDGE

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     Castillo - Stipulation to Modify Conditions of Release     2
